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28                                           Case No. 3:23-cv-03461-TLT-RMI
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                    PARTY’S MATERIAL SHOULD BE SEALED
                                    1
       Case 3:23-cv-03461-TLT Document 87 Filed 05/15/24 Page 2 of 4


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 8
                               UNITED STATES DISTRICT COURT
 9
                             DISTRICT OF NORTHERN CALIFORNIA
10                                SAN FRANCISCO DIVISION

11
   COURTNEY MCMILLIAN and RONALD                           Case No. 3:23-cv-03461-TLT-RMI
12
   COOPER, on behalf of themselves and all others
13 similarly situated,

14                 Plaintiffs,                             PLAINTIFFS’ ADMINISTRATIVE
                                                           MOTION TO CONSIDER WHETHER
15         v.                                              ANOTHER PARTY’S MATERIAL
                                                           SHOULD BE SEALED
16
   X CORP., f/k/a/ TWITTER, INC.,
17 X HOLDINGS, ELON MUSK, DOES,                            Judge: Trina L. Thompson
                                                           Magistrate Judge: Robert M. Illman
18                 Defendants.                             Date: August 20, 2024
                                                           Time: 2:00 pm
19                                                         Courtroom: 9 – 19th Floor
20

21          Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiffs respectfully submit this

22 Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed in

23 connection with Plaintiffs’ letter to the Court, attached here as “Exhibit A.”

24          Starting on April 9, 2024, the parties have exchanged drafts of a joint letter regarding the

25 Twitter Severance Matrix, and on May 3, 2024, Defendants requested that the letter be filed under

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28                                           Case No. 3:23-cv-03461-TLT-RMI
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
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       Case 3:23-cv-03461-TLT Document 87 Filed 05/15/24 Page 3 of 4


 1 seal. Plaintiffs today file a letter relating to the joint letter that Defendants wanted to be filed under

 2 seal, and Plaintiffs therefore seek to file today’s letter under seal out of an abundance of caution.

 3

 4 DATED: May 15, 2024                                      Respectfully submitted,
 5                                                          Sanford Heisler Sharp, LLP
 6                                                          By: /s/ Kate Mueting
                                                            Kate Mueting DC Bar No. 988177
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12                                                          and the Potential Class

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                    PARTY’S MATERIAL SHOULD BE SEALED
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       Case 3:23-cv-03461-TLT Document 87 Filed 05/15/24 Page 4 of 4


 1
                                        CERTIFICATE OF SERVICE
 2
               I hereby certify that on May 15, 2024, I electronically filed the foregoing with the Clerk
 3
     of the Court using the CM/ECF system, which will send a copy of this filing to all counsel of
 4
     record.
 5

 6
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 7             Melissa D. Hill
               Jared R. Killeen
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14
               Attorneys for Defendants X Corp.,
15             X Holdings, and Elon Musk

16

17             I declare under penalty of perjury under the laws of the United States of America that the

18 foregoing is true and correct.

19

20 DATED: May 15, 2024                                       /s/ Kate Mueting
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